Case 18-54894-jrs        Doc 15          Filed 03/23/18 Entered 03/23/18 10:46:53             Desc Main
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                                             Duluth Travel Inc
                                             Balance Sheet
                                           As of December 31, 2017

                                                         Dec 31, 15    Dec 31, 16    Dec 31, 17
        ASSETS
          Current Assets
            Checking/Savings
               Costa Rica Dreams Bank                           0.00          0.00    180,085.09
               STC Business Account                             0.00      1,000.00      3,273.06
               VA Business Account                          4,030.36     64,341.65     52,093.74
               Gwinnett Community Bank                    -28,049.69    137,625.64    218,661.00
               Money Market                                42,315.77      5,345.10        667.31
               Petty Cash                                      30.00         30.00         30.00

             Total Checking/Savings                        18,326.44    208,342.39    454,810.20

             Other Current Assets                         138,957.09    194,783.91    311,476.84

          Total Current Assets                            157,283.53    403,126.30    766,287.04

          Fixed Assets
             Furniture, Fixtures, & Equip                 305,643.31    308,607.31    318,285.26

             Accumulated Depreciation                    -288,899.00   -293,878.40   -295,273.54

          Total Fixed Assets                               16,744.31     14,728.91     23,011.72

          Other Assets
            Intangible Assets                              24,725.00     42,725.00     60,725.00

             Accumulated Amortization                      -6,725.00     -6,725.00     -6,725.00
             Other Assets                                  53,782.94      2,374.30      5,996.44

             Deposits                                       1,576.00      1,576.00      1,576.00

          Total Other Assets                               73,358.94     39,950.30     61,572.44

        TOTAL ASSETS                                      247,386.78    457,805.51    850,871.20

        LIABILITIES & EQUITY
           Liabilities
              Current Liabilities
                 Credit Cards
                     American Express Payable              43,451.96     19,675.31        177.51

                Total Credit Cards                         43,451.96     19,675.31        177.51

                Other Current Liabilities
                  Due to Concur (VA Bene)                       0.00          0.00      3,485.58
                  Payroll Liabilities                       4,897.88      5,287.27     12,559.73

                Total Other Current Liabilities             4,897.88      5,287.27     16,045.31

             Total Current Liabilities                     48,349.84     24,962.58     16,222.82

             Long Term Liabilities
               Note Payable                               205,375.42    449,924.77    198,144.55

             Total Long Term Liabilities                  205,375.42    449,924.77    198,144.55

          Total Liabilities                               253,725.26    474,887.35    214,367.37

          Equity
            C-Corp R/E                                    -12,374.71    -12,374.71    -12,374.71
            Capital Stock                                  10,000.00     10,000.00     10,000.00
            Additional Paid in Capital                    359,273.08    359,273.08    359,273.08
            Retained Earnings                            -191,319.99   -363,236.85   -317,563.38
            Shareholder Distributions                     -71,001.66    -56,416.83    -92,720.24
            Net Income                                   -100,915.20     45,673.47    689,889.08

          Total Equity                                     -6,338.48    -17,081.84    636,503.83

        TOTAL LIABILITIES & EQUITY                        247,386.78    457,805.51    850,871.20




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